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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                      SAN ANTONIO DIVISION

JARROD STRINGER, ET AL.,                                          §
      Plaintiffs,                                                 §
                                                                  §
V.                                                                §         NO. 5:16-CV-00257
                                                                  §
ROLANDO PABLOS, 1 IN HIS OFFICIAL CAPACITY                        §
AS THE TEXAS SECRETARY OF STATE AND                               §
STEVEN C. MCCRAW, IN HIS OFFICIAL CAPACITY                        §
AS THE DIRECTOR OF THE TEXAS DEPARTMENT OF                        §
PUBLIC SAFETY,                                                    §
       Defendants.                                                §


          DEFENDANTS’ ORIGINAL ANSWER AND AFFIRMATIVE DEFENSES
                   TO PLAINTIFFS’ ORIGINAL COMPLAINT


         Pursuant to Federal Rule of Civil Procedure 8(b)(3), Defendants, Rolando Pablos, in his

official capacity as Texas Secretary of State, and Steven C. McCraw, in his official capacity as

Director of the Texas Department of Public Safety, (“Defendants”), deny each and every allegation

contained in Plaintiff’s Original Complaint for declaratory and injunctive relief (Doc. 1) except

for those expressly admitted below. These numbered paragraphs and titles correspond to the

paragraphs within the Plaintiff’s Original Complaint.

                                          NATURE OF THE CLAIM

1.       This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites statutes and portions of the United States


1
  When this lawsuit was filed, Carlos H. Cascos was Texas’s Secretary of State. On January 5, 2017, Rolando Pablos
took over this position. Secretary Pablos is therefore now listed as the Defendant in this cause. See FED. R. CIV. P.
25(d), “[a]n action does not abate when a public officer who is a party in an official capacity dies, resigns, or otherwise
ceases to hold office while the action is pending. The officer’s successor is automatically substituted as a party. Later
proceedings should be in the substituted party’s name[.]”

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Constitution, and in all other respects, deny. To the extent that this paragraph contains Plaintiffs’

characterizations of the cited authorities, Defendants deny those characterizations and contend that

these authorities speak for themselves, and deny any violation thereof with respect to Plaintiffs.

2.     This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites and/or quotes a statute, and in all other

respects, deny. To the extent that this paragraph contains Plaintiffs’ characterizations of the cited

statute, Defendants deny those characterizations and contend that the statute speaks for itself, and

deny any violation thereof with respect to Plaintiffs.

3.     This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites and/or quotes statutes, and in all other respects,

deny. To the extent that this paragraph contains Plaintiffs’ characterizations of the cited statutes,

Defendants deny those characterizations and contend that the statutes speak for themselves, and

deny any violation thereof with respect to Plaintiffs.

4.     This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites and/or quotes a statute, and in all other

respects, deny. To the extent that this paragraph contains Plaintiffs’ characterizations of the cited

statute, Defendants deny those characterizations and contend that the statute speaks for itself, and

deny any violation thereof with respect to Plaintiffs.

5.     Admit that certain Texas driver license holders may initiate a renewal of their driver license

or an update to the address on their drive license on the DPS website, but note that these



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transactions are completed on Texas.gov. Admit that individuals renewing their driver license or

changing the address on their driver license through a transaction initiated on the DPS website are

asked to check “yes” or “no” in response to the statement, “I want to register to vote,” but deny

that this is a complete description of the voter registration related component of these transactions.

Admit that the Texas counties—not the Defendants—are responsible for registering voters within

the State, and registered voters are reported into the statewide voter registration database, and

information relating to voter registration applications may be transmitted by Defendants to

counties, so in that respect, admit that Defendants themselves do not “update” any “registration

records of voters.” In all other respects, deny.

6.     This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent that this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites a statute, and in all other respects, deny. To

the extent that this paragraph contains Plaintiffs’ characterizations of the cited statute, Defendants

deny those characterizations and contend that the statute speaks for itself, and deny any violation

thereof with respect to Plaintiffs.

7.     Deny.

8.     Deny.

9.     Admit that, between September 2013 and May 26, 2015, SOS recorded more than 1,800

inquiries from counties relating to individuals who alleged they had registered to vote at DPS and

had questions about their voter registration status. In all other respects, deny.

10.    Admit that Defendants are bound by constitutional and federal law, but deny that they are

“ignoring” or “being permitted to ignore” it, and deny in all other respects.




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                                 JURISDICTION AND VENUE

11.    Defendants deny that the Court has jurisdiction under the NVRA, see 52 U.S.C. §20510(b),

deny that they have violated the United States Constitution or any law with regard to Plaintiffs,

and deny this paragraph to the extent it requires any further response.

12.    Deny.

13.    This paragraph, an assertion of jurisdiction, is a legal conclusion which does not require a

response. The cited statutes speak for themselves.

14.    Defendants lack sufficient information to admit or deny whether each Plaintiff is a citizen

of the State of Texas. The balance of this paragraph, an assertion of jurisdiction, is a legal

conclusion which does not require a response.

15.    This paragraph, an assertion of venue, is a legal conclusion which does not require a

response. To the extent a response is required, Defendants admit that each conducts business in

this district but lack sufficient information to admit or deny whether a substantial part of the events

or omissions giving rise to this claim took place in this district.

                                              PARTIES
                                              Plaintiffs

16.    Defendants admit that individuals by the names of Benjamin Hernandez, Jarrod Stringer,

Totysa Watkins, and John Woods are currently listed with active registrations on the statewide

voter registration list, but deny that any individuals by these names were harmed by any alleged

conduct by Defendants.

                                             Defendants

17.    Deny.

18.    Deny that Carlos H. Cascos is the Texas Secretary of State. The balance of this paragraph

contains assertions of law, conclusory statements, and/or argument, to which no response is

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required. To the extent that this paragraph contains any factual allegations requiring a response,

admit that this paragraph cites statutes, and in all other respects, deny. To the extent that this

paragraph contains Plaintiffs’ characterizations of the cited statutes, Defendants deny those

characterizations and contend that the statutes speak for themselves.

19.     Admit that Steven C. McCraw is the Director of the Texas Department of Public Safety,

which operates field offices around the State of Texas and issues driver’s licenses and other state

identification cards. The balance of this paragraph contains assertions of law, conclusory

statements, and/or argument, to which no response is required. To the extent that this paragraph

contains any factual allegations requiring a response, admit that this paragraph cites statutes, and

in all other respects, deny. To the extent that this paragraph contains Plaintiffs’ characterizations

of the cited statutes, Defendants deny those characterizations and contend that the statutes speak

for themselves, and deny any violation thereof with respect to Plaintiffs.

                                      APPLICABLE LAW
                                    The Fourteenth Amendment

20.     This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent that this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites the United States Constitution, and in all other

respects, deny. To the extent that this paragraph contains Plaintiffs’ characterizations of the United

States Constitution, Defendants deny those characterizations and contend that the United States

Constitution speaks for itself, and deny any violation thereof with respect to Plaintiffs.

21.     This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites and/or quotes cases, and in all other respects,

deny. To the extent that this paragraph contains Plaintiffs’ characterizations of the cited authorities,

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Defendants deny those characterizations and contend that the authorities speak for themselves.

                             National Voter Registration Act of 1993

22.    This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent that this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites and/or quotes a statute and several cases, and

in all other respects, deny. To the extent that this paragraph contains Plaintiffs’ characterizations

of the cited authorities, Defendants deny those characterizations and contend that the authorities

speak for themselves, and deny any violation thereof with respect to Plaintiffs.

23.    This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites legislative history, and in all other respects,

deny. To the extent that this paragraph contains Plaintiffs’ characterizations of any applicable law,

Defendants deny those characterizations and contend that such law speaks for itself.

24.    This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent that this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites statutes, and in all other respects, deny. To the

extent that this paragraph contains Plaintiffs’ characterizations of the cited statutes, Defendants

deny those characterizations and contend that the statutes speak for themselves, and deny any

violation thereof with respect to Plaintiffs.

25.    This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent that this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites a statute, and in all other respects, deny. To

the extent that this paragraph contains Plaintiffs’ characterizations of the cited statute, Defendants



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deny those characterizations and contend that the statute speaks for itself, and deny any violation

thereof with respect to Plaintiffs.

26.    This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent that this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites statutes, and in all other respects, deny. To the

extent that this paragraph contains Plaintiffs’ characterizations of the cited statutes, Defendants

deny those characterizations and contend that the statutes speak for themselves, and deny any

violation thereof with respect to Plaintiffs.

27.    This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent that this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites a statute, and in all other respects, deny. To

the extent that this paragraph contains Plaintiffs’ characterizations of the cited statute, Defendants

deny those characterizations and contend that the statute speaks for itself, and deny any violation

thereof with respect to Plaintiffs.

                                        Texas Election Code

28.    This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent that this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites a statute, and in all other respects, deny. To

the extent that this paragraph contains Plaintiffs’ characterizations of the cited statute, Defendants

deny those characterizations and contend that the statute speaks for itself, and deny any violation

thereof with respect to Plaintiffs.

29.    This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent that this paragraph contains any factual allegations



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requiring a response, admit that this paragraph cites a statute, and in all other respects, deny. To

the extent that this paragraph contains Plaintiffs’ characterizations of the cited statute, Defendants

deny those characterizations and contend that the statute speaks for itself, and deny any violation

thereof with respect to Plaintiffs.

30.    This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent that this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites statutes, and in all other respects, deny. To the

extent that this paragraph contains Plaintiffs’ characterizations of the cited statutes, Defendants

deny those characterizations and contend that the statutes speak for themselves, and deny any

violation thereof with respect to Plaintiffs.

31.    This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent that this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites a statute, and in all other respects, deny. To

the extent that this paragraph contains Plaintiffs’ characterizations of the cited statute, Defendants

deny those characterizations and contend that the statute speaks for itself, and deny any violation

thereof with respect to Plaintiffs.

32.    This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent that this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites statutes, and in all other respects, deny. To the

extent that this paragraph contains Plaintiffs’ characterizations of the cited statutes, Defendants

deny those characterizations and contend that the statutes speak for themselves, and deny any

violation thereof with respect to Plaintiffs.




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                                  FACTUAL ALLEGATIONS

33.    Deny.

      DPS Does Not Provide Simultaneous Voter Registration with Online Transactions

34.    Admit that Texans may access certain online services through www.txdps.state.tx.us, a

website operated by Texas.gov. Deny with respect to the word “encourages” and in all other

respects.

35.    Admit that Texas driver license holders who satisfy specific criteria may initiate a renewal

of their driver license or an update to the address on their license on the DPS website, may renew

their license or update the address information associated with their license online through

Texas.gov. Deny with respect to the word “invites” and in all other respects.

36.    Deny.

37.    Admit.

38.    Admit that individuals renewing their driver license or changing the address on their driver

license through a transaction initiated on the DPS website are asked to check “yes” or “no” in

response to the statement, “I want to register to vote,” but deny that this is a complete description

of the voter registration related component of these transactions. Admit that the Texas counties—

not the Defendants— are responsible for registering voters within the State, and registered voters

are reported into the statewide voter registration database, and information relating to voter

registration applications may be transmitted by Defendants to counties, so in that respect, admit

that Defendants themselves do not register any individuals to vote. Otherwise, deny.

39.    This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent that this paragraph contains any factual allegations

requiring a response, deny.



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40.    Deny.

41.    Deny.

42.    This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent that this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites a handbook, and in all other respects, deny.

To the extent that this paragraph contains Plaintiffs’ characterizations of the cited handbook,

Defendants deny those characterizations and contend that the handbook speaks for itself.

43.    Deny.

44.    Deny.

45.    Deny.

                          Defendants’ Conduct Injures Each Plaintiff

46.    Admit that an individual by the name of Benjamin Hernandez has registration information

in the statewide voter registration database reflecting a registration in Dallas County with an

effective date of registration of December 4, 2014, a date the application was submitted to the

registrar of November 4, 2014, and admit that the registration record contains a reference to a

provisional ballot. Further admit that there is no voting history for Mr. Hernandez in the statewide

voter registration system for 2014. Defendants are without sufficient knowledge and/or

information to admit or deny the balance of this paragraph, and on that basis, deny.

47.    Admit that that an individual by the name of Jarrod Stringer has two addresses in the

statewide voter registration system in Tarrant County (1) one with a start date of May 28, 2014,

and an end date of May 12, 2015; and (2) one with a start date of October 22, 2009 and an end date

of May 28, 2014. Admit that Mr. Stringer’s voting history in the statewide voter registration

database as to 2014 only indicates that he cast a regular ballot in Tarrant County on May 22, 2014;



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there is no voting history for him for the November 2014 election. Admit that Mr. Stringer has an

address in Bexar County for his registration in Bexar County with an effective date of May 23,

2015 in the statewide voter registration database. Defendants are without sufficient knowledge

and/or information to admit or deny the balance of this paragraph, and on that basis, deny.

48.     Admit that that an individual by the name of Totysa Watkins has three addresses in the

statewide voter registration system; (1) one with a start date of March 4, 2015 and an end date of

July 9, 2016, in Irving, in Dallas County; (2) one with a start date of January 18, 2013 and an end

date of November 11, 2014, in Dallas, in Denton County; (3) and an additional address at which

her registration is active, in Irving, in Dallas County. Defendants are without sufficient knowledge

and/or information to admit or deny the balance of this paragraph, and on that basis, deny.

49.     Admit that that an individual by the name of John Oates Woods III has two addresses in

the statewide voter registration system; (1) one with a start date of December 3, 2015 and an end

date of November 11, 2016, in Houston, in Harris County; and (2) an additional address at which

his registration is active, in Houston, in Harris County. Defendants are without sufficient

knowledge and/or information to admit or deny the balance of this paragraph, and on that basis,

deny.

50.     Defendants are without sufficient knowledge as to what Plaintiffs did or did not believe

about their voter registration status, and therefore, deny.

51.     Defendants deny “DPS’ registration failures.” Defendants are without sufficient

knowledge to admit or deny the balance of this paragraph, and on that basis, deny.

52.     To the extent this paragraph calls for a legal conclusion, it does not require a response.

Defendants deny that completing an online change of address initiated on the DPS website could

jeopardize any Plaintiff’s registration status at his or her residence, and deny this paragraph in all



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other respects.

53.     Deny.

            Defendant’s Voter Registration Failures Harm Countless Texas Voters

54.    Deny.

55.    Deny.

56.    Deny.

57.    Deny.

                                   CLAIMS FOR RELIEF
                                             Count I
                    Subjecting Plaintiffs to Arbitrary Treatment in Violation
                               Of the Right to Equal Protection

58.     Defendants repeat and reaffirm their answers to each and every allegation contained in the

paragraphs above and incorporate the same herein as though fully set forth.

59.     Deny.


                                             Count II
                     Failure to Treat Driver’s License Renewal Transactions
                                as Voter Registration Applications

60.     Defendants repeat and reaffirm their answers to each and every allegation contained in the

paragraphs above and incorporate the same herein as though fully set forth.

61.     This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent that this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites and/or quotes statutes, and in all other respects,

deny. To the extent that this paragraph contains Plaintiffs’ characterizations of the cited statutes,

Defendants deny those characterizations and contend that the statutes speak for themselves, and

deny any violation thereof with respect to Plaintiffs, and deny that Plaintiffs have satisfied the



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notice requirement cited in this paragraph.

62.    This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent that this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites and/or quotes a statute, and in all other

respects, deny. To the extent that this paragraph contains Plaintiffs’ characterizations of the cited

statute, Defendants deny those characterizations and contend that the statute speaks for itself, and

deny any violation thereof with respect to Plaintiffs.

63.    This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent that this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites a statute, and in all other respects, deny. To

the extent that this paragraph contains Plaintiffs’ characterizations of the cited statute, Defendants

deny those characterizations and contend that the statute speaks for itself, and deny any violation

thereof with respect to Plaintiffs.

64.    This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent that this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites and/or quotes a statute, and in all other

respects, deny. To the extent that this paragraph contains Plaintiffs’ characterizations of the cited

statute, Defendants deny those characterizations and contend that the statute speaks for itself, and

deny any violation thereof with respect to Plaintiffs.

65.    This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent that this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites and/or quotes a statute, and in all other

respects, deny. To the extent that this paragraph contains Plaintiffs’ characterizations of the cited



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statute, Defendants deny those characterizations and contend that the statute speaks for itself, and

deny any violation thereof with respect to Plaintiffs.

66.    This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent that this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites and/or quotes a statute, and in all other

respects, deny. To the extent that this paragraph contains Plaintiffs’ characterizations of the cited

statute, Defendants deny those characterizations and contend that the statute speaks for itself, and

deny any violation thereof with respect to Plaintiffs.

67.    This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent that this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites and/or quotes a statute, and in all other

respects, deny. To the extent that this paragraph contains Plaintiffs’ characterizations of the cited

statute, Defendants deny those characterizations and contend that the statute speaks for itself, and

deny any violation thereof with respect to Plaintiffs.

                                             Count III

              Failure to Treat Driver’s License Change-of-Address Transactions
                          as Updates for Voter Registration Purposes

68.    Defendants repeat and reaffirm their answers to each and every allegation contained in the

paragraphs above and incorporate the same herein as though fully set forth.

69.    This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent that this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites and/or quotes a statute, and in all other

respects, deny. To the extent that this paragraph contains Plaintiffs’ characterizations of the cited

statute, Defendants deny those characterizations and contend that the statute speaks for itself, and

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deny any violation thereof with respect to Plaintiffs, and deny that Plaintiffs have satisfied the

notice requirement cited in this paragraph.

70.    This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent that this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites and/or quotes a statute, and in all other

respects, deny. To the extent that this paragraph contains Plaintiffs’ characterizations of the cited

statute, Defendants deny those characterizations and contend that the statute speaks for itself, and

deny any violation thereof with respect to Plaintiffs.

71.    This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent that this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites and/or quotes a statute, and in all other

respects, deny. To the extent that this paragraph contains Plaintiffs’ characterizations of the cited

statute, Defendants deny those characterizations and contend that the statute speaks for itself, and

deny any violation thereof with respect to Plaintiffs.

72.    This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent that this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites and/or quotes a statute, and in all other

respects, deny. To the extent that this paragraph contains Plaintiffs’ characterizations of the cited

statute, Defendants deny those characterizations and contend that the statute speaks for itself, and

deny any violation thereof with respect to Plaintiffs.

73.    This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent that this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites and/or quotes a statute, and in all other



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respects, deny. To the extent that this paragraph contains Plaintiffs’ characterizations of the cited

statute, Defendants deny those characterizations and contend that the statute speaks for itself, and

deny any violation thereof with respect to Plaintiffs.

74.    This paragraph contains assertions of law, conclusory statements, and/or argument, to

which no response is required. To the extent that this paragraph contains any factual allegations

requiring a response, admit that this paragraph cites and/or quotes a statute, and in all other

respects, deny. To the extent that this paragraph contains Plaintiffs’ characterizations of the cited

statute, Defendants deny those characterizations and contend that the statute speaks for itself, and

deny any violation thereof with respect to Plaintiffs.

                                    REQUEST FOR RELIEF

Paragraphs i.-vii. [PRAYER FOR RELIEF] do not contain assertions of fact to which a response

is required, except that Defendants deny that Plaintiffs are entitled to any of the relief requested.

                         DEFENDANTS’ AFFIRMATIVE DEFENSES

1.     Defendants asserts that Plaintiff’s Complaint fails to state a claim upon which relief can be

granted.

2.     Defendants assert the defenses of Eleventh Amendment immunity and sovereign

immunity.

3.     Defendants assert the affirmative defense of statute of limitations for any claims falling

outside the applicable limitations period.

4.     Defendants assert that any and all actions of Defendants and their officers, agents and

employees, relevant to the claims and causes of action asserted in Plaintiffs’ Complaint, were done

in good faith and without malice, willfulness, or intent.




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5.       Plaintiffs lacks standing and have failed to demonstrate injury-in-fact, causation, or

redressability necessary to establish standing.

6.       Defendants assert that Plaintiff has not exhausted administrative requirements requisite to

file suit.

7.       Defendants assert that Plaintiffs have failed to satisfy the conditions precedent required to

invoke the Court’s jurisdiction over their claims, including the presuit notice requirements of the

NVRA, 52 U.S.C. §20510(b)(1)-(2).

8.       Defendants assert the defense of misrepresentation.

9.       Defendants assert that Plaintiffs’ claims are moot.

10.      Defendants assert that the Court lacks jurisdiction.

11.      At all times relevant to this cause, Defendants’ actions were reasonable and proper under the

laws of the United States and the State of Texas.

12.      Defendants reserve the right to raise additional defenses and affirmative defenses to the

claims alleged against them as the development of the factual circumstances in this case may

warrant.

                                               PRAYER

         For the foregoing reasons, Defendants ask the Court to enter judgment that Plaintiffs take

nothing, dismiss Plaintiffs’ suit with prejudice, assess costs against Plaintiffs, and award

Defendants all other relief the Court deems appropriate.

                                                 Respectfully submitted,

                                                 KEN PAXTON
                                                 Attorney General of Texas

                                                 JEFFREY C. MATEER
                                                 First Assistant Attorney General

                                                 BRANTLEY STARR
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                                             Deputy First Assistant Attorney General

                                             JAMES E. DAVIS
                                             Director of Defense Litigation

                                             ANGELA V. COLMENERO
                                             Chief, General Litigation Division

                                             /s/ Anne Marie Mackin
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                                             ATTORNEYS FOR DEFENDANTS

                                CERTIFICATE OF SERVICE

       I certify that on this the 21st day of April, 2017 a true and correct copy of the foregoing

was filed electronically with the Court causing electronic service upon all counsel of record.

                                             /s/ Anne Marie Mackin
                                             ANNE MARIE MACKIN
                                             Assistant Attorney General




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